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SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-02-435-CV



IN RE SOVEREIGN HOMES CORPORATION	RELATORS

AND DAVID REXROAT



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ORIGINAL PROCEEDING

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MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B:	GARDNER, HOLMAN, and WALKER, JJ.



WALKER, J. would request a response.





[DELIVERED JAN. 10. 2003]

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




